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                                                                          FILED -SOUTHERN DIVISION
                                                                          CLERK, U.S. DISTRICT COl1RT


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                                                                         CFN     L DISiRIGT CF ~r,L.
                                                                         BY          ~.~




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                            cASF NUMSEx ~, 2,2_(~J~ — C~2~5~O—~v`''~


                                              PLAINTIFFS)
                             ~.                                         ~l_2— VVl 1—?~~1~ ~0k-Qft
 ~„~,~ ~au~d f~V~.~'6vl                                                   DECLARATION RE
                                           DEFENDANT(S).              OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by: CYO(/ll~~,~ ~.Q/~/YL ~ 1~,(,((~
in the                             District of    a,ssG~.C~(llMS              on
at (^, ao        ~ a.m. / ~.m. The offense was allegedly committed on or abou /~
in violation of Title         ~~                   U.S.C., Sections)      Cj C
t0 Wlt: ~/1 III /A ~ Ole 1✓1R. ,IA~1.~~a 'A.l"D    /~YYI~I I.~(1A~~71°~I/~L'1C


A warrant for defendant's arrest was issued by:

Bond of$                                was pset /~ recommended.

Type of Bond:

Relevant documents) on hand (attach):



I declare under penalty of perjury that the foregoing is true and correct.

Executed on           ?j~
                       ate


                                                                  ~-Y~~~eX~ ~~~l~1'~
Signature of Agen                                             Print Name of Agent




Agency                                                        Tit




CR-52(03/20)                           DECLARATION REOUT-OF-DISTRICT WARRANT
